                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:08cr134

UNITED STATES OF AMERICA                               )
                                                       )                        ORDER
                         vs.                           )
                                                       )
CESAR YOLANDO CASTILLO (15)                            )
                                                       )



          THIS MATTER is before the Court upon motion of the government to dismiss Count 26

of the indictment as to Cesar Yolando Castillo without prejudice, pursuant to Fed. R. Crim. P.

48(a). (Doc. No. 24).

          IT IS, THEREFORE, ORDERED that the government is granted leave to dismiss

Count 26 of the indictment as to Cesar Yolando Castillo without prejudice.

          The Clerk is directed to certify copies of this order to counsel for the defendant, the

United States Attorney, the United States Marshals Service, and the United States Probation

Office.

                                                    Signed: October 19, 2010




   Case 3:08-cr-00134-RJC-SCR               Document 1276         Filed 10/19/10       Page 1 of 1
